Case 0:05-cv-61456-KMM Document 1 Entered on FLSD Docket 09/06/2005 Page 1 of 12



                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORID A

                               Case No . 05 -                  6 14    5 6        C1VMOOflE
                                       FORT LAUDERDALE DIVISION

                                                 "IN ADMIRALTY"                   ,r'D:11
  -------------------------------------------------------- x                                  3

  G & G MARINE, INC .,

           Plaintiff,                                                                  r
  V.



  M/V #109, her boats, tackle, apparel and
  furniture, engines and appurtenances, etc ., in
  rem

           Defendant .




                                             VERIFIED COMPLAIN T


           Comes now the plaintiff, G & G MARINE, INC. (hereinafter "G & G") by and throug h

  its undersigned counsel and sues the defendant , MN #109, her boats, tackle, apparel an d

  furniture, engines and appurtenances, etc ., in rem, and states as follows :

  1 . This is an action within the admiralty and maritime jurisdiction as hereinafter more fully

  appears, and is an admiralty and maritime claim within the meaning of Rule 9(h) of the Federal

  Rules of Civil Procedure .

  2 . At all material times, Plaintiff G & G was and is a Florida Corporation duly existing

  under the laws of the State of Florida and transacting business in this District .
Case 0:05-cv-61456-KMM Document 1 Entered on FLSD Docket 09/06/2005 Page 2 of 12


  3 . At all material times, M/V #109, was and is a 45 foot commercial motor vessel, which is

  now and will be during the pendency of these proceedings, located at or near Fort Lauderdale,

  Florida, and within the jurisdiction of this Honorable Court .

  4. This is a cause of action to enforce a maritime lien arising pursuant to 46 U .S .C . § 31341

  et . seq ., previously known as the Federal Maritime Lien Act, resulting from a breach of contract

  involving dockage fees for the M/V #109 . This is a cause cognizable within the admiralty and

  maritime jurisdiction of this Honorable Court, 28 U .S .C . § 1333, as well as this Court's original

  jurisdiction, 28 U .S .C . § 1331 . Plaintiff invokes the maritime procedure specified in Federal

  Rule of Civil Procedure 9(h) and the Supplemental Admiralty Rules .

                                                 COUNTI

  5 . G & G affirms and realleges the allegations contained in paragraphs 1-4 .

  6 . Plaintiff brings this Count against the M/V #109 her boats, tackle, apparel and furniture,

  engines and appurtenances, etc ., in rent, pursuant to 46 U .S .C . §31342 and Supplemental Rule C .

  7 . M/V #109 is a "vessel" as the term is defined in 1 U .S .C . § 3, and therefore may be

  subject of a maritime lien arising under 46 U .S .C . § 31342 .

  8 . Such liens may be enforced, as provided in the statute, as well as provided i n

  Supplemental Rule C, by civil action in rem against the vessel .

  9. Mr. Kyung it Lee was and is the person entrusted by the owner of M/V #109 with

  managing the vessel in the Fort Lauderdale .

  10. As the person entrusted with the management of the vessel in Fort Lauderdale, Mr . Lee is

  presumed by law, specifically, pursuant to 46 U .S.C. § 31341 to have the authority to procure

  necessaries for the vessel .

  11 . Dockage (the vessel's use of a dock) is one such "necessary" .
Case 0:05-cv-61456-KMM Document 1 Entered on FLSD Docket 09/06/2005 Page 3 of 12



  12 . On or about September 25, 2004, Plaintiff G&G began providing dockage to M/V #109

 on the order of Mr . Lee .

  13. Defendant has not paid dockage fees to Plaintiff since its arrival in September 2004 .

 Defendant has been presented with invoices for the dockage fees, and has failed to pay an

 outstanding balance of $41,599 .70, which remains outstanding, and is now due and owing to

 Plaintiff . Mr . Lee has advised G & G that the owner of the vessel could not pay the dockage fees

 owed to G & G .

  14 . A copy of the dockage invoice, tabulated from September 26, 2004 through August 25,

  2005, totaling $41,599 .70 is attached hereto as Exhibit "A ."

  15 . Proof that Defendant's owner received the appropriate invoices, and a letter demanding

 payment and advising of the vessel's possible seizure in rem (sent in both English and Korean) is

  attached hereto as Exhibit "B ."

  16. 46 U .S .C . § 31342 specifies that provision of such necessaries, upon the order of a person

  authorized by the owner, creates a maritime lien on the vessel to which they are provided .

  17 . Plaintiff G & G, having provided dockage to MN #109 for almost one full year without

  payment, has a maritime lien on M/V #109 .

  18. 46 U .S .C. § 31342(a)(2) and Supplemental Rule C(l) provide for this civil action in rein

  against MJV #109 to enforce G & G's maritime lien .

  19. The facts in this case fully satisfy the conditions for an in rein action, and therefore this

  Honorable Court must order arrest of the MIV #109 pursuant to Supplemental Rule C(3)(a)(ii) .

  20. In the event that defendant defaults in this case, and/or fails to make an effort to secure

  release of the MN #109 from arrest, the court may order the MN #109 sold, pursuant t o

  Supplemental Rule E(9)(b)(i)(C) .
Case 0:05-cv-61456-KMM Document 1 Entered on FLSD Docket 09/06/2005 Page 4 of 12




          WHEREFORE, plaintiff prays :

  1 . That a warrant in rem for the arrest of M/V #109 may issue and that all persons claiming

 an interest therein may he cited to appear and answer the matters stated in this complaint ;

          That judgment may be entered in favor of the plaintiff for the amount of its claim, wit h

  interest and costs, and that the M/V #109 be condemned and sold to pay the same ; an d

  3 . That plaintiff may have such other and further relief as this court may deem to be proper

  and just .

           SIGNED this 2nd day of September, 2005 .




                                                Brian P . Hill, Esq .
                                                Fla. Bar No . 08041 0
                                                5600 North Flagler Drive, Suite 2708
                                                West Palm Beach, Florida 33407
                                                Telephone : (305) 951-6001
                                                Facsimile: (561) 840-038 2
                                                Email address : Esquire38@aol .com
Case 0:05-cv-61456-KMM Document 1 Entered on FLSD Docket 09/06/2005 Page 5 of 12




                                           VERIFICATIO N

          The undersigned is the Vice President of Operations of G & G MAR INE, INC ., and
  swears to the following : Knowledge of the facts stated in the instant Complaint is derived from a
  review of the documents generated by or in the possession of G & G MAR INE, INC . ;
  information related to me by employees of G & G MARINE, INC. pursuant to a business
  obligation to report, as well as my own personal knowledge and belief . The undersigned is
  authorized to make this Verification on behalf of G & G MARINE, INC. I verify and confirm
  that the facts alleged in this Complaint are true and accurate to the best of my information and
  belief.

         DATED is 2nd day of September, 2005 .




  STATE OF FLORIDA )
                                           :ss
  COUNTY OF BROWARD                    )

         The foregoing instrument was acknowleda o re me this     Z day of September ,
  2005 by Mike J . Grandonico who is personal know'to me who has produce d
                                  as identification .




                                                 Notary Public, STATI                           tra 01 ool e
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Case 0:05-cv-61456-KMM Document 1 Entered on FLSD Docket 09/06/2005 Page 6 of 12




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  G & C; MARINE, INC .
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                                                                                  DATE               INVOICE No .
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                                                                                                 VESSEL* 10 9
  102-!:I10 , KIL HOON APT .                                                                     102-910 , KIL NOON APT.
  SINGOK RI, KIMPO SI,                                                                           SINGOK RI , KIMPO Si
  KYU141G KI D O                                                                                 KYUNG KI DO ,
  KOREA                                                                                          KOREA

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  for Period Cover, Jul 28, 2005 to Aug 25, 20 0

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  sarvlcea s nail pay any and all costs, expanses and reasonable at   n ay fees Incurred by G & G whether suit Is b rought or no t




                     760 N .E . 7th Avenue - Dania Bec '-1, Florida 33004 • Phone (954) 920-9292 • Fax (954) 922-8316
                                                     W :)site; www.gandgshipping .com
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Case 0:05-cv-61456-KMM Document 1 Entered on FLSD Docket 09/06/2005 Page 9 of 12

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                                        3875 Airways Boulevard
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                                        Memphis, TN 38116




 08/08/2005


 Dear Customer :


 The following is the proof of delivery you requested with the tracking number 851807351400 .


  Delivery Information :

 Status : Delivered                                           Delivery date : Jun 7, 2005 10 :38
 Signed for by :                .KIM IL JOO N
 Service type : Priority Envelop e




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Detailed Result s
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Jun 6 , 200 5         6 :17 PM     In transit                    SEOUL-SI MAPO-GU                                                multi piece packag e
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                     12 :27 PM     Int'l shipment release        SEOUL KR
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                     12 :57 AM     Departed FedEx location       MEMPHIS, TN

Jun 2 , 200 5        11 :40 PM    Arrived at FedEx location      MEMPHIS, T N

                      7 :07 PM    Left origin                    MIAMI, F L
                      5 :52 PM    Picked up                      MIAMI, FL



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Case 0:05-cv-61456-KMM Document 1 Entered on FLSD Docket 09/06/2005 Page 11 of 12



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q ,JS 44 (Rev . 1 1/04)                                                        CIVIL COVER SHEE T
               Case 0:05-cv-61456-KMM Document 1 Entered on FLSD Docket 09/06/2005 Page 12, of 12
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the fi ling and service of plcaumgs or other papers as required by law except as p rovided
by local rules of cou rt . This form , approved by the Judicial Conference of the United States in September 1974, is required for the use oft he Clerk of Cou rt for the purpose of initiating
the civil docket sheet . ( SEE INSTRUCTIONS ON THE REV ERSF OF THE FORM .)

1 . (a) PLAINTIFFS                                                                                                DEFENDANTS
G & G MARINE, INC .                                                                                              MN # 109
770 N .E . 7th Avenue                                                                                                               MAGISTRATE .TTJDGR
Dania, Florida 33004                                                                                                                     GARBE R

     (b) County of Residence of First Listed Plaintiff                Broward County, Florid a                   County of Residence of First Listed Defendant                  Broward

                               (EXCEPT IN U .S . PLAINTIFF CASES )                                                                               IN U .S . PLAINTIFF CASES ONLY)
                                                                                                                         NOTE : IN LAND CONDEMNATION CASES, USE THE hOCATION OF THE
                                                                                                                         IRACIOPLANDINVOLVED .         ,
     (C) Anorticy'S (Fimi Nance . Address, in(] Ielephone Number )

Brian P . Hill, Esq .                                                                                                    Attorneys (If Known )
5600 North Flagler Drive #2708
West Pala) Beach, Florida 33407
(305)951-6001                                      5-61456
     (d) Check Comm nwhere Action Arose : 1 DADI! /1 MONROE                         X BROW ARD     ❑ PALM BEACH            ❑ MARTIN        ❑ ST LUCID       ❑ INDIAN V1VER       ❑ 0 ;:T;,-F(-H013I-I- 1116111 AND S

II . BASIS OF JURISDICTION                          Puce   wi   °A' io O1)e I3o .x Onl s          III . CITIZENSHIP OF PRINCIPAL PARTIES ( Placean X'                      ijr(y)te Box Or Plaintiff
                                                                                                                 Diversity (•ses Only) andYlne Bnt Or Defendant )
                                                                                                              (For
❑ I U .S . Government                  03 Federal Quc,uon                                                                          PTF       DEF                 PTF                 DE F
       Plaintiff                              U .S . Government Not a Party )                          Citizen ofTltis Stat e      ❑ I ❑ I Incorporated or Principal Place         ❑ 4     ❑ 4
                                                                                                                                           of Business In This State

❑ ' U S . (iovemment   ❑ 4 Diser,iiv                                                                   C Oven of Another Stat e            ❑ 2     ❑    2    Incorporated and Principal Plac e     Ti 5     ❑    5
        Defendant                                                                                                                                               of Business In Another State
     / (Indicate Citizenship of Parties in Item III)

                               /                                                                           itizen or Subject of a          ❑ 3     ❑    3    Foreign Nation                        ❑   6    ❑    6
                                                                                                            Foreign Country
                               0
IV . NATURE OF             SUIT (Place an ' •X" in One Box On(y)
           CONTRACT                                       TORTS                                        FORFEITURE/PENALTY                              BANKRUPTCY                       OTHER STATUTE S
❑   110 Insurance                      PERSONAL INJURY                     PERSONAL INJURY             ❑     610 Agriculture                 ❑ 422 Appeal 28 USC I58             ❑ 400 State Reapponionmen t
hI 120 Marine                      ❑    310 Airplane                    ❑ 362 Personal Injury -        ❑     620 Other Food & Drug           ❑ 423 Withdrawal                    ❑ 410 Antitrus t
❑   130 Miller Act                 ❑    315 Airplane Product                  Med . Malpractice        ❑     625 Drug Related Seizure             28 USC 157                     ❑ 430 Banks and Bankin g
❑   140 Negotiable Instrument               Liability                   ❑ 365 Personal Injury -                 of Property 21 USC 881                                           ❑ 450 Commerc e
❑   1511 Recovery of Overpayment   ❑    3 221) Assault, Libel &               Product Liability        ❑     630 Liquor Laws                   PROPERTY RIGHTS                   ❑ 461) Deportatio n
       & Enforcententofludgment             Slander                     ❑ 368 Asbestos Personal        ❑     640 R .R . & Truck              ❑ 820 Copyrights                    ❑ 470 Racketeer Influenced an d
❑ 151 Medicare Act                 ❑    330 Federal Employers'                Injury Product           ❑     650 Airline Regs .              ❑ 830 Patent                             Comipt Organizations
❑ 1 52 Recovery of Defaulted                Liability                         Liability                ❑     660 Occupational                ❑ 840 Trademark                     ❑ 480 Consumer Credi t
       Student Loans               ❑    340 Marine                       PERSONAL PROPERTY                      Safety/Health                                                    ❑ 490 Cable Sat T V
       (Excl . Veterans)           ❑    345 Marine Product              Cl 370 Other Fraud             ❑     690 Other                                                           ❑ 81(1 Selective Servic e
❑ 153 Recovery of Overpavnteit              Liability                   ❑ 371 Truth in Lending                        LABOR                    SOCIA1 . SECURITY                 ❑ 850 Securities'Commodrties l
        of Veteran's Benefits      ❑    350 Motor Vehicle               ❑ 380 Other Personal           ❑     710 Fair Labor Standards        ❑ 861 111A (1395ff)                      Exchange
❑ 160 Stockholders' Suits          ❑    355 Motor Vehicle                     Property Damage                   Act                          ❑ 862 Black Lung (923)              ❑ 875 Customer Challenge
❑ 190 Other Contract                        Product Liability           ❑ 385 Property Damage          ❑     720 Labor.!Mgmt . Relations     ❑ 863 DIWC/DIWW (405(g))                 12 USC 341 0
❑ 195 Contract Product Liability   ❑    360 Other Personal                    Product Liability        ❑     730 Labor/Mgmt .Reponing        ❑ 864 SSID Title XVI                ❑ 890 Other Statutory Action s
Ti 196 Franchise                            Injury                                                              & Disclosure Act             ❑ 865 RSI (405(g))                  ❑ 891 Agricultural Acts
      REAL PROPERTY                        CIVIL RIGHTS                  PRISONER PETITIONS            ❑     740 Railway Labor Act             FEDERAL TAX SUITS                 ❑ 892 Economic Stabilization Ac t
❑ 210 Land Condemnation            ❑    441 Voting                      ❑  510 Motions to Vacate       ❑     790 Other Labor Litigation      ❑ 870 Taxes (U .S. Plaintiff        ❑ 893 Environmental Matters
❑ 220 Foreclosure                  ❑    442 Employment                        Sentence                 ❑     791 Empl . Re( . Inc .               or Defendant)                  ❑ 894 Energy Allocation Ac t
❑ 230 Rent Lease & Ejectment       ❑    443 Housing/                       Habeas Corpus :                      Security Act                 ❑ 871 IRS-Third Party               ❑ 895 Freedom of Informatio n
❑ 240 Tons to Land                          Accommodations              Ti 530 General                                                            26 USC 7609                         Act
Ti 245 Ton Product Liability       ❑    444 Welfare                     ❑ 535 Death Penalty                                                                                      ❑ 900Appeal of Fee Determination
❑ 290 All Other Real Property      ❑    445 Amer w'Disabilities -       ❑ 540 Mandamus & Other                                                                                        Under Equal Access
                                            Employment                  ❑ 550 Civil Rights                                                                                            to Justice
                                   ❑    446 Amer. w!Disabilities -      ❑ 555 Prison Condition                                                                                   ❑ 950 Constitutionality of
                                            Other                                                                                                                                     State Statutes
                                   ❑    440 Other Civil Right s


V . ORIGI N                 (Place an -X- in One Box Only )                                                                                      Appeal to District
                                                                                               Q 4 O 5 Transferred from 0 6 0 7 Judge fro m
XI       Original         O 2 Removed from  n 3 Remanded front                                   Reinstated or another district Multidistrict Magistrate
         Proceeding            State Court Appellate Cour t                                      Reopened (specify) Litigation Judt'ment
                                        (Cite the U .S . Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity) :

V1 . CAUSE OF ACTIO N                    46 U .S .C . 31341 . Enforcement of maritime lien through an IN REM arrest of the vessel .
                                        LENGTH OF TRIAL via 2- days estimated ( for both sides to try entire case)

VII . REQUESTED IN                      ❑      CHECK IF THIS IS A CLASS ACTION                              DEMAND S                                    CHECK YES only if demanded in complaint :
      COMPLAINT :                              UNDER F .R .C .P . 2 3                                       $41,599 .70                                 JURY DEMAND : Ti Yes e'N o
VIII . RELATED CASE(S)
                                             (See instructions) :
       IF AN Y                                                          JUDGE                                                                    DOCKET NUMBER

DATE
09/02/2005

FOROFFICEhE ONL Y /~


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